  Fill in this information to identify your case:

  United States Bankruptcy Court for the:

  Middle District of Tennessee
  Case number (//known):_____                ____ Chapter you are filing under:
                                             _
                                                             DChapter?
                                                             @chapter11
                                                             DChapter12
                                                                                                                                         D Check if this is an
                                                             DChapter13                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           os,22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1. Debtor's name                            Trousdale Issuer, LLC


2. All other names debtor used
   in the last 8 years
   Include any assumed names,
   trade names, and doing business
   as names



a. Debtor's federal Employer             XX-XXXXXXX
   Identification Number (EIN)


4. Debtor's address                         Prlncipal place of business                                  Malling address, if different from principal place
                                                                                                         of business
                                            485 Central Avenue NE
                                            Number        Street                                         Number      Street


                                                                                                         P.O. Box

                                            Cleveland                      TN       37311
                                            City                            State      ZIP Code          City                        State        ZIP Code

                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                            Bradley County
                                            County
                                                                                                         Number      Street




                                                                                                         City                        State        ZIP Code




s. Debtor's website (URL)


s. Type of debtor                           [Z] Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            D Partnership (excluding LLP)
                                            0 Other. Specify: _________________________



Official Form 201                                  VOiuntary Petition for Non-Individuals Filing for Bankruptcy                              page 1


  Case 3:23-bk-02930                   Doc 1            Filed 08/14/23 Entered 08/14/23 18:20:18                                   Desc Main
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              Trousdale Issuer, LLC
Debtor                                                                                      Case number (I/known),______________
              Name

                                      A. Check one:
7. Describe debtor's business
                                      IZI Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                      D Single Asset Real Estate (as defined in 11 U.S.C. § 101(51 B))
                                      D Railroad (as defined in 11 U.S.C. § 101(44))
                                      0 Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                      D Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                      D Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                      0 None of the above

                                      B. Check all that apply:
                                      IZI Tax-exempt entity (as described in 26 U.S.C. § 501)
                                      0 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                          § 80a-3)
                                      D Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                         See http://www.naics.com/searchl.
                                          6321
a. Under which chapter of the          Check one:
   Bankruptcy Code is the             D Chapter 7
   debtor filing?                     D Chapter 9
                                      IZl Chapter 11 . Check all that apply:
                                                          D The debtor is a small business debtor as defined in 11 U.S.C. § 101(51 D), and Its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to Insiders or affiliates)
                                                              are less than $3,024,725. If this sub-box is selected, attach the most
    A debtor who is a "small business                         recent balance sheet, statement of operations, cash-flow statement, and federal income
    debtor" must check the first sub­                         lax return or if any of these documents do not exist, follow the procedure in
                                                              11 u.s.c. § 1116(1)(8).
    box. A debtor as defined in
    § 1182(1) who elects to proceed                       Cl The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
    under subchapter V of chapter 11                         noncontingent liquidated debts (excluding debts owed to Insiders or affiliates) are
                                                             less than $7,500,000, and it chooses to proceed under Subchapter V of
    (whether or not the debtor is a                          Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
    "small business debtor") must                            of operations, cash-flow statement, and federal income tax return, or if
    check the second sub-box.                                any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                             § 1116(1)(8).

                                                          D A plan is being filed with this petition.
                                                          D Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                              in accordance with 11 U.S.C. § 1126(b).

                                                          D The debtor is required to file periodic reports (for example, 1OK and 1OQ) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                          D The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                      [j Chapter 12

9. Were prior bankruptcy cases        0 No
    filed by or against the debtor
    within the last 8 years?          □   Yes. District ________ When ______ Case number _________
                                                                                             MM/ DD/YYYY
    If more than 2 cases, attach a
    separate list.                               District ________ When ______ Case number--�------
                                                                        MM/ DD/YYYY

10. Are any bankruptcy cases           □ No
    pending or being filed by a                           Hidden Acres Healthcare, LLC, et al. Relationship Affiliate
    business partner or an             [�hes.    Debtor
    affiliate of the debtor?                     District _M_ i_d_d_le_D_is_tr_ic_t _o_f_ T_ e_n_n_e_ s_s_e_e____ W hen 08/30/2022
    List all cases. If more than 1,                                                                                         MM / DD /YYYY
    attach a separate list.                      Case number, If known _2_2_-_0_2_7_8_0_______
                                                                                                          _

  Official Form 201                        Voluntary Petition for Non-Individuals Filing tor Bankruptcy                                  page 2

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                Trousdale Issuer, LLC
Debtor                                                                                       Case number (I/known)_____________
                Name



11. Why is the case filed in this       Check all that apply:
    district?
                                        D Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                        0 A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have         IZINo
   possession of any real               0 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                          Why does the property need immediate attention? (Check all that app.y.)
   attention?
                                                 D II poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _________________________
                                                 D II needs to be physically secured or protected from the weather.
                                                 D It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                 D Other __________________________

                                                 Where is the property?_________________________
                                                                            Number         Street



                                                                            City                                           State       ZIP Code


                                                 Is the property insured?
                                                 0 No
                                                 0 Yes. Insurance agency _________________________

                                                           Contact name

                                                           Phone



           Sta tistical and administrative informa t ion


13. Debtor's estimation of               Check one:
    available funds                      0 Funds will be available for distribution to unsecured creditors.
                                         D After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                         x 1-49
                                         0                                0 1,000-5,000                            0 25,001-50,000
14. Estimated number of                                                                                            0 50,001-100,000
                                         0 50-99                          0 5,001-10,000
    creditors                            0 100-199                        0 10,001-25,000                          0 More than 100,000
                                         0 200-999

                                         x $0-$50,000
                                         0                                0 $1,000,001-$10 million                 0 $500,000,001-$1 billion
1s. Estimated assets                     0 $50,001-$100,000               0 $10,000,001-$50 million                0 $1,000,000,001-$1O billion
                                         0 $100,001-$500,000              D $50,000,001-$100 million               D $10,000,000,001-$50 billion
                                         D $500,001-$1 million            D $100,000,001-$500 million              0 More than $50 billion




  Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3


   Case 3:23-bk-02930                   Doc 1      Filed 08/14/23 Entered 08/14/23 18:20:18                                     Desc Main
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              Trousdale Issuer, LLC
Debtor                                                                                          Case number (If known),_____________
             Name



16. Estimated liabilities
                                        □ $0-$50,000                       D $1,000,001-$10 million                    D $500,000,001-$1 billion
                                        □ $50,001-$100,000                 D $10,000,001-$50 million                   D $1,000,000,001-$10 billion
                                        □ $100,001-$500,000                D $50,000,001-$100 million                  D $10,000,000,001-$50 billion
                                        D $500,001-$1 million                  � $100,000,001-$500 million             D More than $50 billion


           Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
   authorized representative of
                                            petition.
   debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                            correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.

                                           Executed on    0811412023
                                                          MM / DD /YYYY

                                        X Isl Thomas Johnson                                            Thomas Johnson
                                            Signature of authorized representative of debtor            Printed name

                                           Title Executive Director




18. Signature of attorney               X Isl Robert Gonzales                                           Date         0811412023
                                            Signature of attorney for debtor                                         MM      /DD /YYYY


                                            Robert Gonzales
                                           Printed name
                                             Emergelaw, PLC
                                            Firm name
                                            4235 Hillsboro Pike 350
                                           Number         Street
                                            Nashville                                                        TN               37215
                                            City                                                             State            ZIP Code

                                            6158151535                                                         robert@emerge.law
                                            Contact phone                                                    Email address


                                            016705                                                           TN
                                            Bar number                                                       State




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4


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               Trousdale Issuer, LLC
 Debtor                                                                                  Case number (llknown)_   ___________
                                                                                                                  _          _
              First Name     Middle Name      Lasl Name



                                                   Continuation Sheet for Official Form 201

10) Pending Bankruptcies

Cincinnati Senior                   Middle District of             08/14/2023
Care, LLC                           Tennessee

Dayton Senior Care,                 Middle District of             08/14/2023
 LLC                                Tennessee

Florida Senior                      Middle District of             08/14/2023
Care, LLC                           Tennessee

Waynesboro                          Middle District of             08/14/2023
Healthcare, Lt'C                    Tennessee

Nashville Senior                    Middle District of             08/14/2023
Care, LLC                           Tennessee

Sebring Senior                      Middle District of             08/14/2023
Living, LLC                         Tennessee




   Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy

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                                 United States Bankruptcy Court
                                    Middle District of Tennessee




            Trousdale Issuer, LLC
   In re:                                                           Case No.

                                                                    Chapter    11
                         Debtor(s)




                                Verification of Creditor Matrix



          The above-named Debtor(s) hereby verify that the attached list of creditors is
   true and correct to the best of their knowledge.




   Date:          0811412023                          Isl Thomas Johnson
                                                      Signature of Individual signing on behalf of debtor

                                                      Executive Director
                                                      Position or relationship to debtor




Case 3:23-bk-02930      Doc 1   Filed 08/14/23 Entered 08/14/23 18:20:18             Desc Main
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      Fill in this information to identify the case:

      Debtor name Nashville Senior Care, LLC, et al.                                                                              Check if this is an
      United States Bankruptcy Court for the:   Middle                    District of Tennessee                                          amended filing
                                                                                  (State)
      Case number (If known):



Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                      12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete               Name, telephone number, and     Nature of the claim   Indicate if   Amount of unsecured claim
     mailing address, including zip code         email address of creditor       (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                                 contact                         debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                                 professional          unliquidated, total claim amount and deduction for value of
                                                                                 services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                                 government
                                                                                 contracts)
                                                                                                                       Total claim, if     Deduction for    Unsecured
                                                                                                                       partially           value of         claim
                                                                                                                       secured             collateral or
                                                                                                                                           setoff
     Functional Pathways Of
1
     Tennessee, LLC
     10133 Sherrill Blvd                        P: 888-531-2204                 Trade Payables         Disputed                                              $995,385.19
     Suite 200
     Knoxville, TN 37932-3347

2    Gordon Food Service                        Attn: Payment Processing Center
     Dept Ch 10490                              P: 800-968-6490                 Trade Payables                                                               $779,154.91
     Palatine, IL 60055-0490                    F: 616-717-6024, 616-717-7600


3    Metropolitan Trustee                       Attn: Property Tax Dept
     700 2nd Ave S                              P: 615-862-6330                 Property Taxes                                                               $470,727.15
     Nashville, TN 37201                        trustee@nashville.gov


4    Montgomery County Treasurer
                                                P: 937-225-4010
     451 W Third Street
                                                F: 937-496-7122                 Property Taxes                                                               $444,411.31
     2nd Floor
                                                taxpayer-services@mcohio.org
     Dayton, OH 45422-1475

5    Division Of Tenncare/Accounting
                                                Attn: Dieudonne Ndinda
     310 Great Circle Road
                                                P: 800-342-3145                 Excise/Bed Taxes                                                             $311,033.60
     4 East
                                                tenn.care@tn.gov
     Nashville, TN 37243

6    Quality Care Rehab
                                                P: 352-382-1141                 Contracted Therapy
     8477 South Suncoast Blvd                                                                                                                                $308,447.72
                                                                                Services
     Homosassa, FL 34446


7    Medical Staffing Network
                                                P: 800-676-8326                 Contracted Nursing
     PO Box 840416                                                                                                                                           $250,636.98
                                                                                Services
     Dallas, TX 75284


8    Consolidated Medical Staffing, Inc
     2451 Atrium Way                    P: 615-986-7501                         Contracted Nursing
                                                                                                   Disputed                                                  $210,810.25
     Suite 202                          F: 615-986-7502                         Services
     Nashville, TN 37214


    Debtor Name                                                                        Case Number

              Case 3:23-bk-02930
    Official Form 204
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                        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                              page 1
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     Name of creditor and complete          Name, telephone number, and    Nature of the claim   Indicate if   Amount of unsecured claim
     mailing address, including zip code    email address of creditor      (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                            contact                        debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                           professional          unliquidated, total claim amount and deduction for value of
                                                                           services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)
                                                                                                                 Total claim, if   Deduction for      Unsecured
                                                                                                                 partially         value of           claim
                                                                                                                 secured           collateral or
                                                                                                                                   setoff


9    Veracity Resourcing And Services
     8517 North Dixie Drive           P: 937-886-4700                      Contracted Nursing
                                                                                                                                                       $147,094.97
     No 900                           info@hireveracity.com                Services
     Dayton, OH 45417

10 Guardian Pharmacy Of Tennessee
   One, LLC                       P: 931-684-9987
                                                                           Trade Payables                                                              $135,091.80
   661 East Lane Street
   Shelbyville, TN 37160
     Twomagnets, Inc dba Clipboard
11
     Health
                                           P: 408-837-0116                 Contracted Nursing
     440 N Barranca Ave                                                                                                                                $118,059.48
                                                                           Services
     Ste 5028
     Covina, CA 91723-1722

12 Triton Services Inc                     P: 513-679-6800
   8162 Duke Blvd                          F: 513-679-6808                 Trade Payables        Disputed                                              $96,756.99
   Mason, OH 45040                         service@tritonservicesinc.com


13 Guardian Pharmacy Of Orlando
   2815 Directors Row                      P: 407-270-6722
                                                                           Trade Payables                                                              $94,796.47
   Suite 700
   Orlando, FL 32809

14 All American Healthcare Services
   Inc                              P: 862-339-4075, 866-629-2242
                                                                  Contracted Nursing
   494 Broad Street                 F: 866-629-2242                                  Disputed                                                          $90,931.75
                                                                  Services
   Suite 302                        paul@aahcs.org
   Newark, NJ 07102

15 American Healthtech                     P: 800-489-2648
   805 South Wheatley Street                                               Software as a
                                           F: 601-978-6811                                                                                             $86,399.91
   Suite 600                                                               Service (SaaS)
                                           tracey.schroeder@cpsi.com
   Ridgeland, MS 39157

16 Duke Energy
                                           P: 877-372-8477, 800-774-1202
   10270 Alliance Rd                                                       Utilities                                                                   $84,398.03
   Blue Ash, OH 45242

17 Skilled Care Pharmacy LLC               P: 513-745-9620, 513-701-6971
                                                                         Contracted Nursing
   6175 Hi Tek Court                       F: 513-745-9024                                                                                             $84,024.30
                                                                         Services
   Mason, OH 45040                         info@skilledcare.com


18 Gem City Home Care Plus
   1700 Lyons Road                         P: 937-438-9100
                                                                           Trade Payables        Disputed                                              $74,683.00
   Suite A
   Dayton, OH 45458

19 Associated Pathologists d/b/a
   PathGroup                               P: 615-221-4463
                                                                           Trade Payables                                                              $64,872.50
   5301 Virginia Way                       contact@pathgroup.com
   Brentwood, TN 37027

20 Mullaney`s Ltc Pharmacy
                                           P: 513-587-6202
   11930 Kemper Springs Dr                                                 Trade Payables                                                              $62,000.20
                                           F: 513-228-1176
   Cincinnati, OH 45240




              Case 3:23-bk-02930
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                        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                        page 2
                                                  Document             Page 8 of 18
 Debtor Name                                                                                                   Case Number


   Name of creditor and complete                          Name, telephone number, and                   Nature of the claim   Indicate if   Amount of unsecured claim
   mailing address, including zip code                    email address of creditor                     (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                                          contact                                       debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                                                        professional          unliquidated, total claim amount and deduction for value of
                                                                                                        services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                                                        government
                                                                                                        contracts)
                                                                                                                                              Total claim, if   Deduction for      Unsecured
                                                                                                                                              partially         value of           claim
                                                                                                                                              secured           collateral or
                                                                                                                                                                setoff


21 Nashville Electric Service
                                                        P: 615-736-6900
   1214 Church St                                                                                       Utillities                                                                  $61,498.00
   Nashville, TN 37246


22 Advent Health
   PO Box 105571                                                                                        Trade Payables        Disputed                                              $59,259.83
   Atlanta, GA 30348

23 Treasurer, State Of Ohio
   30 East Broad Street                                 P: 614-466-2160
                                                                                                        Penalties             Disputed                                              $54,003.43
   9th Floor                                            constituentaffairs@tos.ohio.gov
   Columbus, OH 43215

24 Triumph Staffing, LLC
   555 Marriott Dr                                      P: 615-928-1140                Contract Nursing
                                                                                                                                                                                    $53,761.48
   Ste 315                                              yolanda@triumphstaffingllc.com Services
   Nashville, TN 37214

25 Erick T Zwayer, Tax Collector                        Attn: Highlands County Florida
   540 S Commerce Ave                                   P: 863-402-6685                                 Property Taxes                                                              $51,300.65
   Sebring, FL 33870-3867                               F: 863-402-6709


26 Accent Flooring, Inc
                                                        Attn: John McMeen
   3070 Sidco Drive                                                                                     Trade Payables                                                              $48,346.00
                                                        P: 615-244-4560
   Nashville, TN 37204


27 Iron Mountain                                        P: 800-934-3453
   PO Box 27128                                         askcustomerservice@ironmounta Trade Payables                                                                                $48,301.36
   New York, NY 10087-7128                              in.com


28 Signature Staff Resources, LLC
   1460 TL Townsend Dr                                  P: 866-480-4531
                                                                                                        Trade Payables                                                              $47,498.66
   Suite 104
   Rockwall, TX 75032

29 Smartlinx LLC
                                                        P: 732-258-0174               Software as a
   111 South Wood Ave                                                                                                                                                               $42,960.92
                                                        F: 732-258-0174, 800-737-5786 Service (SaaS)
   Iselin, NJ 8830


30 Fresenius Management Services                        Attn: Beth Newell
                                                        P: 978-354-6603
   16343 Collections Center                                                                             Trade Payables        Disputed                                              $42,236.81
                                                        F: 978-354-6603
   Chicago, IL 60693
                                                        pr-fre@fresenius.com

   *Please note that this a consolidated list of the Debtors' top 30 creditors on an aggregate basis.




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                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                                                    page 3
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Case 3:23-bk-02930   Doc 1    Filed 08/14/23 Entered 08/14/23 18:20:18   Desc Main
                             Document      Page 17 of 18
 Fill in this information to identify the case and this filing:

              Trousdale Issuer, LLC
 Debtor Name __________________________________________________________________

                                         Middle District of Tennessee
 United States Bankruptcy Court for the: ________________________________

 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____
         x Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
         

          Other document that requires a declaration__________________________________________________________________________________



        I declare under penalty of perjury that the foregoing is true and correct.


                    08/14/2023
        Executed on ______________                          /s/ Thomas Johnson
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Thomas Johnson
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Executive Director
                                                                ______________________________________
                                                                Position or relationship to debtor




          Case 3:23-bk-02930 Declaration
Official Form 202
                               Doc 1 Under    Penalty of Perjury for Non-Individual Debtors
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